CHRISTOPHER M. MCMONAGLE, ESQ.
STERN & EISENBERG, PC
1040 N. KINGS HIGHWAY, SUITE 407
CHERRY HILL, NJ 08034
TELEPHONE: (609) 397-9200
FACSIMILE: (856) 667-1456

                         IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                         (CAMDEN)

 In Re:
                                                    Chapter 13
       Malissa Williams
              Debtor                                Case Number: 19-31691-JNP
       Jasmone R.E. Brockington
       Horace J. Odum                               Hearing: March 17, 2020 at 10:00AM
               Co-Debtors

            NOTICE OF MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                            AND CO-DEBTOR STAY


TO:

Malissa Williams
246 Sickle Lane                                      Jasmone R.E. Brockington
Woodbury, NJ 08096                                   246 Sickle Lane
                                                     Woodbury, NJ 08096
Brad J. Sadek, Esquire
1315 Walnut Street                                   Horace J. Odum
Suite 502                                            246 Sickle Lane
Philadelphia, PA 19107                               Woodbury, NJ 08096

Isabel C. Balboa, Esquire                            U.S. Trustee
Cherry Tree Corporate Center                         US Dept of Justice
535 Route 38 - Suite 580                             Office of the U.S. Trustee
Cherry Hill, NJ 08002                                One Newark Center Ste 2100
                                                     Newark, NJ 07102



        PLEASE TAKE NOTICE THAT on March 17, 2020 at 10:00AM or as soon as counsel may be
heard, the undersigned, attorneys for creditor, RoundPoint Mortgage Servicing Corporation
(“Creditor”), by its attorneys, Stern and Eisenberg PC, will move before the Honorable Jerrold N.
Poslusny, Jr. in Courtroom 4C, United States Bankruptcy Court, Mitchell H. Cohen U.S. Courthouse,
400 Cooper Street, 4th Floor, Camden, NJ 08101, for an Order granting Creditor relief from the
automatic stay provisions of the Bankruptcy Code; modifying, terminating and vacating the automatic
stay pursuant to 11 U.S.C. §362 (d) and the co-debtor stay pursuant to §1301 with respect to real
property located at (and known as) 246 Sickle Lane, Deptford, NJ 08096 (the “Property”) in the
Debtor(s)' possession and control. Creditor's Motion shall also request that the Order granting the
foregoing relief allow Creditor to proceed with process or other lawful action against Debtor(s)
necessary to recover possession of the Property and to otherwise exercise all rights under State and
Federal Law in and to the Property, including without limitation, the right to foreclose, sell or otherwise
transfer the Property. Creditor seeks to enforce its rights as more fully set forth in the mortgage and
note dated 07/31/2018. Creditor will rely on the attached Certification in Support of this Motion.
Creditor further seeks that in the event the instant case is dismissed or otherwise terminated (without
discharge) that the Automatic Stay arising under any subsequent filing within a year of such dismissal
be limited to 30 days unless extended by Court Order.

      If you oppose the motion you must file a response within the time provided under the Rules of
Bankruptcy Procedure and Local Rules. If you do not file a timely response then the requested relief
may be entered without further hearing.

       Creditor will also request that Debtor(s) will not be considered current with Creditor at the
conclusion of the instant case.



                                                     Respectfully Submitted:
                                             By:    /s/ Christopher M. McMonagle, Esq.
                                                    Christopher M. McMonagle, Esq.
                                                    Stern & Eisenberg, PC
                                                    Counsel for Movant



Date: February 20, 2020
